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USDC FLSD 2458 (Rev.09/08)-Judgmenti
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                          U N IT E D ST A T E S D IST R IC T C O U R T
                                                Southern D istrictofFlùridà
                                                      M iam iD ivision


U NITED STA TES O F A M ER ICA                                JUD G M EN T IN A CR IM INA L C A SE
                     V.
 G UILLERM O BAR R ER A LA R A                                Case N um ber:19-cr-20562-W illia> s
                                                              USM Number:18331-104

                                                              CounselForDefendant:O scarA rroyave
                                                              CounselForTheUnited States:DanielM arcet
                                                              CourtReporter:PatriciaSanders
The defendantpleaded guilty to Count 1 ofthe Indictm ent.

Thedefendantisadjudicatedguiltyoftheseoffenses:
                                                                                          O FFEN SE
 TITLE & SECTION                   NATURE OF OFFENSE                                      ENDED          COUNT

 18U.S.C.1956(h)        Conspiracytoengagein moneylaundering '         08/22/2019     1
Thedefendantissentencedasprovidedinthefollowingpagesofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform A ctof 1984.
A Ilrem aining countsare dism issed on the m otioù ofthe governm ent.

ItisorderedthatthedefendantmustnotifytheUnitedStatesattorneyforthisdistrictwithin30daysofanychanqe
ofname,residence,ormailing addressuntila1lfines,restitution,costs,and specialassessmentslm posed by thls
judgmentaref'
            ullypaid.Iforderedtopayrestitm ion,thedvfendantmustnotifythecotu'tandUnitedStatesattorney
ofm aterialchanges in econom ic circum stances.




                                                             Date ofImposition ofSentence;11/25/2020




                                                             K athleen M .W 'liam s
                                                             U nited States istrictJudge


                                                             D ate:       l'&- '
                                                                               >   '-
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DEFENDANT:Guillerm oBarreratzara
CA SE N UM BER:19-cr-20562-W illiam s
                                                     IM PR ISO NM ENT

The defendantishereby com mitted to thecustody ofthe Urtited StatesBtlreau ofPrisonsto be imprisoned fora
totaltenn of88 m onths.
The courtm akesthe follow ing recom m epdations to the Bureau ofPrisons:
Defendantbe designated to CI M cR ae H elena,GA .
The defendantis rem anded to the custody ofthe U nited StatesM arshal.

                                                         RE TU R N
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                to

at                                                 ,withacertifedcopyofthisjudgment.




                                                             U N ITED STA TES M A RSHA L



                                                             D EPU TY UN ITED STA TES M A RSH AL
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DEFEN D AN T:G uillerm o B arrera Lara
CA SE N UM BER:19-cr-20562-W illiam s

                                                  stjpERvls>m RELEASE
Upon releasefrom im prisonm ent,the defendantshallbe on supervised release fora term of3 years.
The defendantmustreportto theprobation office in thedistrictto which the defendantisreleased w ithin 72 hoursofrelease
from the custody ofthe Bureau ofPrisons.
The defendantshallnotcom mitanotherfederal,state orlocalcrim e.
The defendantshallnotunlawfully possessa controlled substance.The defendantshallrefrain from any unlaw fuluse of a
controlled substance.The defendantshallsubm itto one drug testwithin 15 daysofrelease from im prisonm entand atleast
two periodic drugteststhereafter,asdetennined by the court.
The defendantshallcooperate in thecollection ofDNA asdirected by the probation officer.
The defendantshallnotpossessa nrearm ,am m unition,destructive device,orany otherdangerousw eapon.

Ifthisjudgmentimposesafineorrestitution,itisacondiiionofsupervisedreleasethatthedefendantpayinaccordancewith
theScheduleofPaymentssheetofthisjudgment.
The defendantmustcom ply with the standard conditionsthathave been adopted by thiscourtasw ellaswith any additional
conditionson theattached page.
                               STA ND A RD C O N DITIO N S O F SUPERV ISIO N
    l..Thedefendantshallnotleavethejudicialdistrictwithoutthepennissionofthecourtorprobationofticer;
    2. Thedefendantshallreporttotheprobation officerand shallsubmitatruthfuland completewritten reportwithinthetirsttiReen
       daysofeach month;
    3. Thedefendantshallanswertnlthfully a11inquiriesby theprobation ofticerandfollow theinstructionsoftheprobationoftker;
    4. Thedefendantshallsupporthisorherdependentsandmeetotherfamilyresponsibilities;
    5. Thedefendantshallwork regularly atalawfuloccupation,unlessexcusedby theprobation officerforschooling,training,or
        Otheracceptablereasons;
        Thedefendantshallnotify theprobation officeratleastten daysprfortoanychangeinresidenceoremployment;
       'I'
         hedefendantshallreâain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
        controlled substanceorany paraphernaliarelatedto any.
                                                            controlled substances,exceptasprescribedby aphysician;
    8. Thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministereb;
    9. Thedefendantshallnotassociatewith any personsengaged in crim inalactivity and shallnotassociatewith anyperson
        convictedofafelony,unlessgrantedpermissiontodosobytheprobation officer;
    10. Thedefendantshallpermitaprobationofficerto visithim orheratany timeathomeorelsewhereand shallpermitconfiscation
        ofany contrabandobserved inplain view oftheprobation officer;
    11.Thedefendantshallnotifytheprobation officerwithin seventptwohoursofbeing arrestedorquestioned by a1aw enforcement
        officer;      .
    12. Thedefendantshallnotenterinto any agreementtoactasan informeroraspecialagentofalaw enforcementagency Without
        .

        thepermission ofthecoul't;and
    13. Asdirected bytheprobation officer,thedefendantshallnotify thirdpartiesofrisksthatm aybeoccasionedby thedefendant's
        criminalrecord orpersonalhistory orcharacteristicsand shallperm ittheprobation oftkertom akesuch notifkationsandto
        confirm thedefendant'scompliancewith suchnotification requirement.
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DEFENDANT:Gyillerm oBarreraLara
CA SE N UM BER :19-crL20562-W ilIiam s

                                    SPEPIAL CONDITIONSOF SUPERW SION
Suzrendering to Imm igration forRem ovalAfterImprisonm ent-Atthecompletion ofthedefendant'sterm of
imprisonment,the defendantshallbesurrendered to the custody oftheU.S.Imm igration afld Custom s
Enforcementforremovalproceedingsconsistentwiththelmmigrajion andNationalityAct.Ifremoved,the
defendantshallnotreçntertheUnited Stateswithoutthepriorwritten permission oftheUndersecretary for
Borderand Transportation Seclzrity.Thetenn ofsupqrvisedreleaseshallbenon-reportingwhilethedefendantis
residing outsidetheUnited States.lfthe defendantreenterstheUnited Stateswithin theterm ofsupervised
release,the'defendantisto reportto the nearestU.S.Probation Officewithin 72 hoursofthe defendant'sarrival.

Unpaid Restitm ion,Fines,orSpecialAssessm ents-lfthedefendanthasany unpaid am ountofrestitution,fines,
orspecialassessments,thedefendantshallnotify theprobation officerofany m aterialchangein thedefendant's
econom iccircum stancesthatm ightaffectthedefendant'sability to pay.
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DEFEN DA N T:G uillerm o Batrera L ara
CA SE NUM BER:19-cr-20562-W ilIiam s

                                        CR IM IN A L M O N ETA R Y PE NA LTIES

Thedefendantmustpaythetotalcrim inalmonetary penaltiesunderthescheduleofpaym entson Sheet6.
                               A ssessm ent                 Fine                 R estitution
          TOTALS                           $100.00                  $0.00                  $0.00 '
Ifthe defendantm akesa partialpaym ent,each payeeshallreceive an approxim ately proportioned paym ent,
unless specified othem ise in the priority order or percentage paym ent colum n bélow .H ow ever,pursuantto
18U.S.C.j3664(9,alInonfederalvictimsmustbepuidbeforetheUnited Statesispaid.
NAM E OF PAYEE                                             TOTAL LOSS*           RESTITUTIO N ORDERED
* Findingsforthetotalamountoflossesarerequired underChapters 109A,110,1IOA,and 113A ofTitle 18 for
offensescomm itted pn orafterSeptember13',1994,butbeforeApril23,1996.
**Assessm entdueimm ediately unlessotherwiseordered bythe Coul't.
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      lsj!l;!j#.(Rav.09/08)-JudgmentinaCriminalCase                                                               q(
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DEFEN D AN T:G uillerm o B arrera L ara
CASE NUM BER:19-cr-20562-W iIliam s

                                                      SC H EDU LE OF PA YM EN TS

Having assessedthedefendant'sability to pay,paym entofthetotalcrim inalm onetary penaltiesisdue asfollows:
A.Lum p sum paym entof$100.00 dueim m ediately.
Unlessthecourthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
monetary penalties is due during imprisonm ent.A11crim inalm onetary penalties,exceptthose paym ents made
throughtheFederalBureau ofPrisons'lnmateFinancialResponsibility Progrnm ,arem adetotheclerk ofthecotu't.
The defendant shallreceive credit for al1paym ents previously made toward any crim inal monetary penalties
imposed.
Thisassessm ent/fine/restim tion ispayableto theCLERK,UNITED STATES COURTS and istobeaddressed to:

U .S.C LERK 'S O FFICE
ATTN:FINANCIAL SECTION
400 N O R TH M IA M IA V EN UE ,R O O M 08N 09
M IAM I,FLORIDA 33128-7716
The assessm ent/fine/restitm ion ispayableimm ediately.TheU.S.Bureau ofPrisons,U.S.Probation Officeandthe
U.S.Attom ey'sOffice areresponsibleforthe enforcem entofthisorder.
Defendantand Co-DefendantNamesand CaseNumbers(including defendantnumber),TotalAmount,Jointand
SeveralA m ount,and corresponding payee,ifappropriate.
 CA SE N U M BER                                                                          JO IN T A N D SEVE R AI,
 DEFE ND AN T A ND C O -D EFEN DA N T NA M E S                         TO TA L A M O UN T A M O UN T
 (INCLUDING DEFENDANT NUM BER)
The Governm entshalllllea prelim inary orderofforfeiturewithin 3 days.
Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitution interest,
(4)tineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and (8)costs,includingcostof
prosecution and courtcosts.
